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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

        v.                                                  No. 1:23-cv-1346 (JSR)

 TERRAFORM LABS PTE LTD. and
 DO HYEONG KWON,

                               Defendants.


                   PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS

       Pursuant to Rule 47 of the Federal Rules of Civil Procedure and paragraph 8 of the

Court’s Individual Rules of Practice, plaintiff, the Securities and Exchange Commission (the

“SEC”), respectfully submits its Proposed Voir Dire questions specific to this case. The SEC also

requests that the Court ask the background questions that it typically poses to prospective jurors.

Dated: March 20, 2024                         Respectfully submitted,


                                              /s/ Carina A. Cuellar
                                              Carina A. Cuellar, admitted pro hac vice
                                              James P. Connor, admitted pro hac vice
                                              Devon L. Staren, admitted pro hac vice
                                              Laura E. Meehan
                                              Christopher J. Carney
                                              Attorneys for Plaintiff
                                              U.S. SECURITIES AND EXCHANGE
                                              COMMISSION
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                                     Familiarity with this Case

        1.     The SEC is represented in this case by Devon Staren, Laura Meehan, Christopher

Carney, Carina Cuellar, and James Connor. They will be assisted by Shadow Haywood, Jessie

Goins, and Hamilton Martin. Do you know, or know of, any of these people?

        2.     The defendants are Terraform Labs PTE Ltd. and Do Hyeong Kwon. Do

you know, or know of, any of them?

        3.     The defendants are represented by Douglas Henkin, Mark Califano, David

Kornblau, Louis Pellegrino, Melissa Gomez Nelson, Matthew Lafferman, Justine Margolis,

Amianna Stovall, David Patton, Michael Ferrara, Andrew Chesley, and Christopher Morel, and

assisted by Michael Cruz, Diane Armstrong, Sarah Gonzalez, Ciara Cooney, Jacqueline Baum,

and Alison Hurst. Do you know, or know of, any of them?

        4.     The case might also include evidence about transactions involving firms in the

securities industry, including the following:

             a. Jump Trading, LLC;

             b. Jump Crypto;

             c. Tribe Capital;

             d. Republic Capital;

             e. Pantera Capital;

             f. Galaxy Digital Holdings Ltd.; and

             g. Polychain Capital.

Have you had any connection to any of them?

        5.     In addition to the defendant, Do Kwon, the following witnesses are expected to be

called at trial. Do you know, or are you otherwise familiar with, any of them?

             a. Arash Vakil
                                                 2
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  b. Boris Revsin

  c. Jonathan Kol

  d. Ashwin Mathialagan

  e.

  f. Christopher Ferrante

  g. Paul Kim

  h. Dr. Matthew Edman

  i. Nader George

  j.

  k. Brian Curran

  l. Jeffrey Kuan

  m. Brandon Ackley

  n. Matthew Lambert

  o. Kanav Kariya

  p. William DiSomma

  q. Dr. Bruce Mizrach

  r. Arrash Christropher Amani

  s. Matthew Cantieri

  t. Seungjin Jacob Park

  u. Zion Schum

  v. Evgeny Gaevoy

  w. Marina Gurevich

  x. Dr. Terrance Hendershott

  y. Chris Drew
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               z. William Chen

         6.       The following persons’ names might come up during trial. Do you know, or are

you otherwise familiar with, any of them?

               a. Daniel Shin

               b. Hang Chang-joon (a/k/a CJ Han)

               c. Jihoon Kim

               d. Jinny Baek

               e. Gigi Kwon

         7.       Do you have any professional, business, or social relationships with any SEC

staff?

         8.       Do you have any professional, business, or social relationships with any

employees of Dentons, which is a law firm?

         9.       Do you have any professional, business, or social relationships with any

employees of Kaplan Hecker & Gink LLP, which is law firm?

         10.      Have you read or heard anything about this case? If yes, what? Does this affect

your ability to fairly consider the evidence in this case?

                                   Familiarity with Crypto Assets

         11.      Would you consider yourself knowledgeable of and interested in crypto assets,

including Bitcoin, Ethereum, and other crypto assets? If so, please explain.

         12.      Have you or your spouse or partner ever invested in Bitcoin or other crypto

assets? If so, please describe the investment, including the amount, and whether you or your

spouse or partner experienced a profit or loss.

               a. If yes, do you or your spouse or partner currently possess and/or own any crypto

                  assets?
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        13.    Have you or your spouse and/or partner had any negative or positive experiences

with a crypto asset, which might influence your consideration of the evidence in this case?

        14.    Do you or your spouse or partner have an account with an online platform

dedicated to the buying, selling, transferring, and storing of crypto assets? If, so please explain.

        15.    Have you heard of or read about LUNA, wLUNA, UST, and/or the Anchor

Protocol? If so, please describe your knowledge.

        16.    Have you or your spouse or partner ever invested in LUNA, wLUNA, UST,

and/or the Anchor Protocol? If so, please describe the investment and whether you or your

spouse or partner experienced a profit or loss.

        17.    Do you or your spouse or partner receive a substantial portion of your household

income from crypto investments?

        18.    Do you follow media publications devoted to the crypto industry, including

podcasts and online media?

                              Views about Government Regulation

        19.    Do you think that foreign companies who sell assets to United States persons

should have to follow U.S. securities laws?

        20.    Do you agree with this statement: It is unfair to expect a foreign company to

follow U.S. securities laws and regulations when they access the U.S. market and sell to U.S.

persons?

        21.    Do you have a strong view about whether crypto assets should be regulated by the

SEC or another government agency? If yes, what is your view? Does this affect your ability to

fairly consider the evidence in this case?




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